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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                      FT. LAUDERDALE DIVISION

      DIANE MICKLES,

            Plaintiff,
      v.
                                                              CASE NO.:
      CREDIT ACCEPTANCE CORPORATION,

            Defendant.
                                                        /

                                                  COMPLAINT

           1.      Unwanted “Robocalls” are the #1 consumer complaint in America today.

           2.      The people complaining about harassing robocalls is increasing at an alarming rate.

  In 2014, 1,949,603 complained to the Federal Trade Commission (FTC) and Federal

  Communications Commission (FCC), in 2015 this number was 2,636,477 and in 2016 it was

  3,857,627. In 2017, between January and August the FTC alone has received more than 3,500,000

  robocall complaints.1

           3.      Credit Acceptance Corporation robocalled the Plaintiff 100 times.

           4.      Credit Acceptance Corporation has a corporate policy to robocall people thousands

  of times.

           5.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

  modern civilization. They wake us up in the morning; they interrupt our dinner at night; they force

  the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’

  137 Cong. Rec. 30, 821 (1991).              Senator Hollings presumably intended to give telephone



  1
   It is important to recognize these merely reflect the number of individuals that complained to these agencies; the
  number of people that have been victimized by illegal robocalling abuse could be close to 100,000,000 in the last 3
  years
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  subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

  Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014). Despite the penalties put in place over 26

  years ago, robocall abuse continues to skyrocket.

         6.      Plaintiff, Diane Mickles, alleges Defendant, Credit Acceptance Corporation,

  robocalled her more than 100 times in stark violation of the Telephone Consumer Protection Act,

  47 U.S.C. § 227 et seq. (“TCPA”), the Florida Consumer Collection Practices Act, Fla. Stat. §

  559.55 et seq. (“FCCPA”), and Invasion of Privacy (“IOP”).

         7.      Robocalls are very inexpensive to make. As was noted in a Senate hearing on the

  subject: “With such a cheap and scalable business model, bad actors can blast literally tens of

  millions of illegal robocalls over the course of a single day at less than 1 cent per minute.” Stopping

  Fraudulent Robocall Scams: Can More Be Done?: Hearing Before the Subcomm. on Consumer

  Prot., Prod. Safety, and Ins. of the S. Comm. on Commerce, Sci., and Transp., 113 Cong. 113-117

  (2013) (statement of Lois Greisman, Assoc. Director, Division of Marketing Practices, Bureau of

  Consumer Protection, Federal Trade Commission).

         8.      The TCPA was enacted to prevent companies like Credit Acceptance Corporation

  from invading American citizens’ privacy and prevent illegal robocalls.

         9.      Congress enacted the TCPA to prevent real harm. Congress found that "automated

  or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and

  decided that "banning" such calls made without consent was "the only effective means of

  protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,

  §§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,

  132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy”).



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         10.     According to findings by the FCC—the agency Congress vested with authority to

  issue regulations implementing the TCPA—such calls are prohibited because, as Congress found,

  automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live

  solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that

  wireless customers are charged for incoming calls whether they pay in advance or after the minutes

  are used.

                                  JURISDICTION AND VENUE

         11.     Jurisdiction and venue for purposes of this action are appropriate and conferred by

  28 U.S.C. §1331.

         12.     Violations described in the Complaint occurred while Plaintiff was in Dania Beach,

  Florida.

                                        FACTUAL ALLEGATIONS


         13.     Plaintiff is a natural person and citizen of the State of Florida, residing in Dania

  Beach, Florida.

         14.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8) 15 U.S.C. §

  1692(a)(3).

         15.     Plaintiff is an “alleged debtor.”

         16.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

  1265 (11th Cir. 2014); Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

         17.     Defendant is a corporation with ites principal place of business in Southfield,

  Michigan, and conducts business in the State of Florida.

         18.     Defendant is a “creditor” as defined by Florida Statute § 559.55(5) .


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           19.   The debt that is the subject matter of this complaint is a “consumer debt” as defined

  by Florida Statute § 559.55(6).

           20.   Plaintiff is the regular user and carrier of the cellular telephone number at issue,

  (754) 204-0649.

           21.   Plaintiff was the “called party” during each phone call subject to this lawsuit.

           22.   Defendant intentionally harassed and abused Plaintiff on numerous occasions by

  calling several times during one day, and on back to back days, with such frequency as can

  reasonably be expected to harass.

           23.   Defendant did not have the “express consent” of the Defendant to call her cell

  phone.

           24.   “Express consent” is narrowly construed by the Courts.

           25.   It is the Defendant’s burden to prove they had “express consent” per the TCPA to

  call the Plaintiff on her cell phone using an “automatic telephone dialing system” (ATDS).

           26.   It is the Defendant’s burden to prove they had “express consent” per the TCPA to

  call the Plaintiff on her cell phone using an ATDS for each account they were calling on.

           27.   Defendant was put on notice Plaintiff did not want the Defendant contacting her.

           28.   In or about July of 2015, Plaintiff started receiving calls from the Defendant.

  Plaintiff told the Defendant repeatedly that she did not have the money to pay any debt that was

  allegedly owed on the vehicle that had been repossessed, and told the Defendant to stop calling

  her.

           29.   Defendant did not have the express consent of the Plaintiff to call her on the

  account they called her on.



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         30.     Plaintiff expressly revoked any express consent Defendant may have mistakenly

  believed it had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone

  number by the use of an ATDS or a pre-recorded or artificial voice.

         31.     Defendant attempted to collect a debt from the Plaintiff by this campaign of

  telephone calls.

         32.     Defendant made at least one call to (754) 204-0649.

         33.     Defendant made at least one call to (754) 204-0649 using an ATDS.

         34.     Defendant made at least twenty-five (25) calls to (754) 204-0649.

         35.     Defendant made at least twenty-five (25) calls to (754) 204-0649 using an ATDS.

         36.     Defendant made at least fifty (50) calls to (754) 204-0649.

         37.     Defendant made at least fifty (50) calls to (754) 204-0649 using an ATDS.

         38.     Defendant made at least one hundred (100) calls to (754) 204-0649.

         39.     Defendant made at least one hundred (100) calls to (754) 204-0649 using an ATDS.

         40.     Each call the Defendant made to (754) 204-0649 in the last four years was made

  using an ATDS.

         41.     Each call the Defendant made to the Plaintiff’s cell phone was done so without the

  “express permission” of the Plaintiff.

         42.     Defendant has called other people’s cell phones without their express consent.

         43.     Each call the Defendant made to the Plaintiff was made using an ATDS, which has

  the capacity to store or produce telephone numbers to be called, without human intervention, using

  a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §

  227(a)(1).



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          44.     The calls at issue were placed by the Defendant using a “prerecorded voice,” as

  specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

          45.     Plaintiff repeatedly requested the Defendant to stop calling       her cell phone,

  however, the Defendant continued to make calls.

          46.     Defendant has admitted to calling cell phones using an ATDS after that person

  asked for the calls to stop.

          47.     Plaintiff’s conversations with the Defendant putting them on notice that they did

  not want more phone calls were ignored.

          48.     Defendant has recorded at least one conversation with the Plaintiff.

          49.     Defendant has recorded numerous conversations with the Plaintiff.

          50.     Defendant has made approximately one hundred (100) calls to Plaintiff’s

  aforementioned cellular telephone number since in or about July of 2015 which will be established

  exactly once Defendant turns over their dialer records.

          51.     Despite actual knowledge of their wrongdoing, the Defendant continued the

  campaign of abusive robocalls.

          52.     Defendant has been sued in federal court where the allegations include: calling an

  individual using an ATDS after the individual asked for the calls to stop.

          53.     By effectuating these unlawful phone calls, Defendants have caused Plaintiff the

  very harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy."

          54.     Defendant’s aggravating and annoying phone calls trespassed upon and interfered

  with Plaintiff’s rights and interests in her cellular telephone and cellular telephone line, by

  intruding upon Plaintiff’s seclusion.

          55.     Defendant’s phone calls harmed Plaintiff by wasting her time.

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         56.     Moreover, "wireless customers [like Plaintiff] are charged for incoming calls

  whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA

  of 1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the

  battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular

  telephone service provider.

         57.     Defendant’s corporate policy and procedures are structured as to continue to call

  individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may

  have mistakenly believed it had.

         58.     Defendant’s corporate policy and procedures provided no means for the Plaintiff to

  have her aforementioned cellular number removed from the call list.

         59.     Defendant has a corporate policy of using an ATDS or a prerecorded or artificial

  voice message to collect debts from individuals such as Plaintiff for its financial benefit.

         60.     Defendant has numerous other federal lawsuits pending against them alleging

  similar violations as stated in this complaint. The Defendant has been sued civilly in Federal Court

  180 times since 2014 (According to pacer.gov in March 2018).

         61.     In the last 3 years, the Defendant has had 632 complaints reported to the Better

  Business Bureau (BBB), of which 424 of those complaints are classified as being related to

  “Billing/Collection Issues. (According to bbb.org in March 2018).

         62.      Plaintiff expressly revoked any consent Defendant may have mistakenly believed

  it had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone by the use

  of an ATDS or a pre-recorded or artificial voice immediately upon Defendant’s placement of the

  calls. Making money while breaking the law is considered an incentive to continue violating the

  TCPA and other state and federal statutes.

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           63.   Defendant never had the Plaintiff’s expressed consent for placement of telephone

  calls to her aforementioned cellular telephone by the use of an ATDS or a pre-recorded or artificial

  voice.

           64.   None of Defendant’s telephone calls placed to Plaintiff were for “emergency

  purposes” as specified in 47 U.S.C. §227(b)(1)(A).

           65.   Defendant violated the TCPA and FCCPA with respect to the Plaintiff.

           66.   Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.

                                                 COUNT I
                                          (Violation of the TCPA)

           67.   Plaintiff incorporates Paragraphs one (1) through sixty-six (66).

           68.   Defendant willfully violated the TCPA with respect to the Plaintiff each time they

  called the Plaintiff after she revoked her consent to be called by them using an ATDS or pre-

  recorded voice.

           69.   Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for

  each of the auto-dialed calls made to Plaintiff’s cellular telephone after Plaintiff revoked her

  consent to be called by them using an ATDS or pre-recorded voice.

           70.   Defendant, Credit Acceptance Corporation, repeatedly placed non-emergency

  telephone calls to the wireless telephone number of Plaintiff using an automatic telephone dialing

  system or prerecorded or artificial voice without Plaintiff’s prior express consent in violation of

  federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

           71.   As a result of Defendant’s illegal conduct, Plaintiff suffered actual damages and,

  under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for each such

  violation of the TCPA.


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         72.     Plaintiff is also entitled to, and does, seek injunctive relief prohibiting Defendant,

  Credit Acceptance Corporation, from violating the TCPA in the future.

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  judgment against Defendant for statutory damages, punitive damages, actual damages and any

  other such relief the court may deem just and proper.

                                               COUNT II
                                        (Violation of the FCCPA)

         73.     Plaintiff incorporates Paragraphs one (1) through sixty-six (66).

         74.     At all times relevant to this action Defendant is subject to and must abide by the

  law of Florida, including Florida Statute § 559.72.

         75.     Defendant has violated Florida Statute § 559.72(7) by willfully communicating

  with the debtor or any member of her family with such frequency as can reasonably be expected

  to harass the debtor or her family.

         76.     Defendant has violated Florida Statute § 559.72(7) by willfully communicating

  with the debtor or any member of her family with such frequency even after Plaintiff explained to

  defendant that she no longer owned the car, that she did not believe she owed the “alleged debt”,

  and asked the Defendant to stop calling her. This frequency can reasonably be expected to harass

  the debtor or her family.

         77.     Defendant has violated Florida Statute § 559.72(9) by attempting to enforce a debt

  when Defendant knows that the debt is not legitimate or assert the existence of some legal right

  when Defendant knows that right does not exist.

         78.     Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

  continuous sustaining of damages as described by Florida Statute §559.77.


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          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

   judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

   interest, attorney fees, enjoinder of future illegal conduct, and any other such relief the court may

   deem just and proper.

                                             COUNT III
                           (Invasion of Privacy – Intrusion Upon Seclusion)

          79.     Plaintiff incorporates Paragraphs one (1) through sixty-six (66).

          80.     Defendant through its collection conduct, has repeatedly and intentionally invaded

   Plaintiff’s privacy.

          81.     All of the calls made to Plaintiff’s cell phone by Defendant and its agents using an

   automatic telephone dialing system were made in violation of the TCPA, and were unreasonable

   and highly offensive invasions of Plaintiff’s right to privacy.

          82.     Defendant’s persistent autodialed calls to both her cellular phone and home

   telephone eliminated Plaintiff’s right to be left alone.

          83.     Defendant’s autodialed collection calls disrupted Plaintiff’s privacy, disrupted

   Plaintiff’s sleep, disrupted Plaintiff during mealtimes, disrupted Plaintiff during her work, and

   continually frustrated and annoyed Plaintiff.

          84.     These persistent autodialed collection calls eliminated the peace and solitude that

   the Plaintiff would have otherwise had in Plaintiff’s home and anywhere else Plaintiff went with

   her cellular phone.

          85.     By calling her cellular phone, Plaintiff had no escape from these collection calls

   when she left the home.




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          86.     By persistently autodialing Plaintiff’s cellular phone without prior express consent,

   Defendant invaded Plaintiff’s right to privacy, as legally protected by the TCPA, and caused

   Plaintiff to suffer concrete and particularized harm.

          87.     Defendant’s harassing collection conduct and tactic of repeatedly auto dialing

   Plaintiff to both her cellular and home telephone after requests to stop is highly offensive to a

   reasonable person.

          88.     Defendant intentionally intruded upon Plaintiff’s solitude and seclusion.

          89.     As a result of Defendant’s action or inaction, Plaintiff has been damaged.

          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

   judgment against Defendant for statutory damages, punitive damages, actual damages and any

   other such relief the court may deem just and proper.

                                                 Respectfully submitted,

                                                 /s/ Amanda J. Allen
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